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                          UNITED STATES DISTRICT COURT
                            DISTRICT OF CONNECTICUT



    VINCENT P. LAROBINA,

                               Plaintiff,                Civil Action No.

             v.                                          (Connecticut Superior Court, J.D. of
                                                         Fairfield, at Bridgeport, No. FBT-
                                                         CV-16-5031346-S)
    LUSTIG, GLASER & WILSON, PC, and
    CITIBANK, N.A.
                                                         February 1, 2016
                               Defendants.


                                 NOTICE OF REMOVAL

        PLEASE TAKE NOTICE THAT, pursuant to 28 U.S.C. Sections 1331,

1441(b), and 1446, defendant Citibank, N.A. (“Citibank”) hereby removes the action

entitled Vincent P. Larobina v. Lustig, Glaser & Wilson, P.C., pending in the Connecticut

Superior Court, Judicial District of Fairfield, Civil Action No. FBT-CV-16-5031346-S

(the “Action”), to the United States District Court for the District of Connecticut on the

following grounds:

        1.        On or about December 26, 2015, plaintiff claims to have mailed the
Summons and Complaint in the Action to Citibank. On January 11, 2016, Citibank

received a copy of the Summons and Complaint in the Action via certified mail.1

Citibank is informed and believes that defendant Lustig, Glaser & Wilson, P.C. received

a copy of the Summons and Complaint in the Action on or about January 7, 2016 via

certified mail.




1
 Although plaintiff has attempted to serve Citibank pursuant to CGS § 33-929 by mailing
a copy of the Summons and Complaint to Citibank’s principal place of business, such
service is improper and ineffective because Citibank maintains a registered agent within
Connecticut. All rights are reserved.
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       2.      Citibank has timely filed this Notice of Removal within 30 days of all

defendants purportedly receiving service of the Summons and Complaint. See 28 U.S.C.

§ 1446(b).

       3.      Lustig, Glaser & Wilson, P.C. has consented to, and joins in, the removal

of the Action. A true and correct copy of Lustig, Glaser & Wilson, P.C.’s Joinder and

Consent is attached hereto as Exhibit B.

       4.      The Action is a civil action of which this Court has original jurisdiction

under 28 U.S.C. Section 1331 and is one which may be removed to this Court by
Citibank pursuant to the provisions of 28 U.S.C. Section 1441(b) in that plaintiff Vincent

Larobina (“Plaintiff”) alleges a violation of the Fair Debt Collection Practices Act, 15

U.S.C. § 1692, et seq. (Complaint ¶11), a claim that is created by, and arises under,

federal law. To the extent any other claims in the Action may arise under state law,

supplemental jurisdiction over such claims exists pursuant to 28 U.S.C. Sections 1367

and 1441(c).

       5.      This Court is the proper district court for removal because the Fairfield

Superior Court is located within the United States District Court for the District of

Connecticut.

       6.      True and correct copies of all pleadings, process, and orders served upon

Citibank in the Action are attached in composite Exhibit A.

       7.      Citibank is simultaneously filing a copy of this Notice of Removal of

Action with the state court in the Action. A true and accurate copy of the Notice of

Removal with the state court is attached as Exhibit C. Citibank will serve Plaintiff with

copies of this Notice of Removal and the Notice filed in the Action.

       8.      By virtue of this Notice of Removal of Action and the Notice filed in the

Action, Citibank does not waive its rights to assert any personal jurisdictional defense or

other motions including Rule 12 motions and/or motions to compel arbitration permitted

by the Federal Rules of Civil Procedure.
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                                     Respectfully submitted,

                                     WELLS FARGO BANK, N.A.


                                     By its attorneys,


                                     /s/ David M. Bizar
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                                     dbizar@seyfarth.com
                                     SEYFARTH SHAW LLP
                                     World Trade Center East
                                     Two Seaport Lane, Suite 300
                                     Boston, MA 02210
                                     Telephone: (617) 946-4874
Dated: February 1, 2016              Facsimile: (617) 790-5368


                          CERTIFICATE OF SERVICE

       I hereby certify that on this 1st day of February, 2015, a true copy of the
foregoing was served via first class mail upon all parties of record, as follows:

       Vincent Larobina
       113 Grove Street
       Stamford, Connecticut 06901


                                                    /s/ David M. Bizar
                                                        David M. Bizar
